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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS
                                    EASTERN DIVISION

                                                                )
In re:                                                          )
                                                                )     Chapter 7
LEGACY GLOBAL SPORTS, L.P., 1                                   )     Case No. 20-11157-JEB; and
                                                                )     20-11351 through 20-11376
                           Debtor.                              )     Request for Joint Administration
                                                                )     Pending

                  APPLICATION OF CHAPTER 7 TRUSTEE FOR ORDER
                      AUTHORIZING RETENTION OF COUNSEL

To the Honorable Janet E. Bostwick, United States Bankruptcy Judge:

         Harold B. Murphy, the chapter 7 trustee (the "Trustee") of the bankruptcy estates (the

“Estates”) of Legacy Global Sport, LP (“LGS”), LGS Management, LLC, LGS

Manufacturing, LLC, Legacy Global Lacrosse LLC, LGS Logistics LLC, LGS Team Sales

LLC, Premier Sports Events LLC, Massachusetts Premier Soccer LLC d/b/a Global Premier

Soccer, Maine Premier Soccer LLC, Mass Premier Soccer in New Hampshire, LLC, Florida

Premier Soccer LLC, New York Premier Soccer LLC, Jersey Premier Soccer LLC, GPS in

Vermont LLC, Rhode Island Premier Soccer LLC, Carolina Premier Soccer LLC, Georgia

Premier Soccer LLC, Global Premier Soccer Puerto Rico LLC, Global Premier Soccer


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 The affiliated debtors, along with the last four digits of each debtor’s federal tax identification number, are as
follows: (i) Legacy Global Sports, L.P., EIN #2834; (ii) LGS Management, LLC, EIN # 5401; (iii) LGS
Manufacturing LLC, EIN #5305; (iv) Legacy Global Lacrosse LLC, EIN # 0161; (v) LGS Logistics LLC, EIN
#6244; (vi) LGS Team Sales LLC, EIN # 6484; (vii) Premier Sports Events LLC, EIN #5407; (viii)
Massachusetts Premier Soccer LLC d/b/a Global Premier Soccer, EIN # 6290; (ix) Maine Premier Soccer LLC,
EIN #0740; (x) Mass Premier Soccer in New Hampshire, LLC, EIN #2958; (xi) Florida Premier Soccer LLC,
EIN #0702; (xii) New York Premier Soccer LLC, EIN # XX-XXXXXXX; (xiii) Jersey Premier Soccer LLC, EIN #
0501; (xiv) GPS in Vermont LLC, EIN #3359; (xv) Rhode Island Premier Soccer LLC, EIN #2841; (xvi)
Carolina Premier Soccer LLC, EIN # XX-XXXXXXX; (xvii) Georgia Premier Soccer LLC, EIN #1982; (xviii)
Global Premier Soccer Puerto Rico LLC, EIN #1857; (xix) Global Premier Soccer Canada LLC, EIN # 6291;
(xx) Global Premier Soccer Oregon, EIN #8242; (xxi) Global Premier Soccer California LLC, EIN #7811; (xxii)
Global Premier Soccer Missouri, LLC, EIN #2782; (xxiii) Global Premier Soccer Connecticut, EIN # 6400;
(xxiv) Global Premier Soccer Delaware, EIN # 4703; (xxv) Global Premier Soccer Michigan LLC, EIN # 0533;
(xxvi) Global Premier Soccer Minnesota LLC, EIN # 5588; and (xxvii) Global Premier Soccer Ohio LLC, EIN
#0022.
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Canada LLC, Global Premier Soccer Oregon, Global Premier Soccer California LLC, Global

Premier Soccer Missouri, LLC, Global Premier Soccer Connecticut, Global Premier Soccer

Delaware, Global Premier Soccer Michigan LLC, Global Premier Soccer Minnesota LLC,

and Global Premier Soccer Ohio LLC (collectively, the “Debtors”), respectfully requests that

this Court enter an order authorizing the retention of the law firm of Murphy & King,

Professional Corporation ("M&K"), as his counsel pursuant to Section 327 of the United

States Bankruptcy Code, Fed. R. Bankr. P. 2014 and MLBR 2014-1. In further support

hereof, the Trustee states as follows:

       1.      On May 20, 2020, certain petitioning creditors filed an involuntary Chapter 7

petition for relief against LGS, and an order for relief was entered on June 23, 2020.

       2.      On June 23, 2020, each of the remaining debtors filed a voluntary petition for

relief under Chapter 7 of the Bankruptcy Code.

       3.      The Trustee is the duly appointed Chapter 7 Trustee of the Estates.

       3.      The Trustee requests authority to retain M&K as his attorneys under a general

retainer for services to be rendered regarding the following:

       a.      Consultation with the Trustee concerning all matters relating to
               the administration of the Estates;

       b.      Providing assistance to the Trustee in preparing the motions,
               notices, complaints, and any other pleadings and documents that
               must be prepared or reviewed by an attorney and which are
               necessary to the administration of this case;

       c.      Directing the activities of accountants or other professionals
               that are retained during these proceedings;

       d.      Negotiating and documenting the sale of assets of the Debtors
               and preparing such motions and notices as are required in
               connection herewith;




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        e.      Assisting the Trustee in determining the existence of avoidable
                transfers and pursuing the avoidance and recovery of such
                transfers;

        f.      Analyzing and determining the validity, status and priority of
                claims asserted against the Debtors’ bankruptcy Estates; and

        g.      Performing all other legal services for the Trustee which may be
                appropriate in connection with this case.

        4.      M&K has substantial experience in bankruptcy proceedings and has the varied

and substantial resources necessary to advise the Trustee in the performance of his duties with

respect to this proceeding.

        5.      To the best of the Trustee's knowledge, information and belief, no member of

M&K has any connection with the Debtors, the Debtors’ creditors or any other party in interest,

their respective attorneys or accountants, the United States Trustee or any person employed in

the office of the United States Trustee, except that M&K may have or had involvement with

certain creditors or their counsel in unrelated proceedings. As is set forth in the affidavit filed

herewith, each member of M&K is a "disinterested person" as that term is defined in 11 U.S.C. §

101(14).




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       WHEREFORE, the Trustee respectfully requests that this Court issue an order

authorizing the Trustee to retain M&K as his counsel, and granting to the Trustee such other

and further relief this Court deems necessary.


                                             HAROLD B. MURPHY,
                                             CHAPTER 7 TRUSTEE

                                             By his proposed counsel,

                                             /s/ Kathleen R. Cruickshank
                                             Kathleen R. Cruickshank (BBO #550675)
                                             MURPHY & KING
                                             Professional Corporation
                                             One Beacon Street
                                             Boston, MA 02108
                                             Tel: (617) 423-0400
                                             Email: kcruickshank@murphyking.com

DATED: July 13, 2020




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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS
                                EASTERN DIVISION

                                                      )
In re:                                                )
                                                      )    Chapter 7
LEGACY GLOBAL SPORTS, L.P.,                           )    Case No. 20-11157-JEB; and
                                                      )    20-11351 through 20-11376
                       Debtor.                        )    Request for Joint Administration
                                                      )    Pending

           AFFIDAVIT OF HAROLD B. MURPHY IN SUPPORT OF
     APPLICATION BY CHAPTER 7 TRUSTEE FOR ORDER AUTHORIZING
                      RETENTION OF COUNSEL

         Pursuant to Federal Rule of Bankruptcy Procedure 2014(a), MLBR 2014-1 and 28

U.S.C. § 1746, I, Harold B. Murphy, being duly sworn, hereby state as follows:

         1.    I am a shareholder of the law firm of Murphy & King, Professional

Corporation, One Beacon Street, Boston, Massachusetts ("M&K"). I make this affidavit (the

"Affidavit") in connection with the Application of Chapter 7 Trustee for Order Authorizing

Retention of Counsel (the "Application") in the above-referenced Chapter 7 proceeding.

         2.    I am the duly appointed Chapter 7 Trustee (the "Trustee") in the above

captioned case, having been appointed on June 24, 2020.

         3.    I am generally familiar with the business of M&K and have made inquiry

concerning the facts set forth herein prior to making this Affidavit.

         4.    For purposes of this Affidavit, I have been provided with a copy of the above-

captioned Debtors’ Schedules and Statement of Financial Affairs and the matrix filed on the

Debtors’ dockets. I have also been provided with the customer lists and employee lists, who

may be creditors of the Estates, which names have been filed under seal.




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         5.       M&K maintains records of all of its clients, the matters on which it represents

its clients, and the other parties which have a substantial role in such matters. M&K has

reviewed such records and documents to determine M&K's connections with the Debtors. 2

         6.      Upon information and belief, in accordance with Fed. R. Bankr. P. 2014(a) and

MLBR 2014-1, neither I nor any shareholder of M&K has any connections or relationships

with the Debtors, their creditors, former employees, customers, or any other party in interest,

their respective attorneys and accountants, the United States Trustee or any person employed

in the office of the United States Trustee, except as follows:

         (i)     The Trustee regularly employs Verdolino & Lowey, P.C., his proposed
                 accountants in these cases, on matters unrelated to these cases, including,
                 among other things, cases in which he serves as Chapter 7 and Chapter 11
                 trustee, and in Chapter 11 cases in which Murphy & King, P.C. represent the
                 debtor in possession;
         (ii)    M&K has previously represented Hartford Insurance Company, an unsecured
                 creditor in these cases, in matters unrelated to these cases, the most recent of
                 which closed over ten years ago;
         (iii)   M&K previously represented Robert Half international, Inc., an affiliate of
                 Robert Half Finance and Accounting, an unsecured creditor in these cases, in a
                 matter unrelated to these cases, approximately twenty years ago;
         (iv)    M&K previously represented Acton Boxborough Regional School District, an
                 unsecured creditor in these cases, in a matter unrelated to these cases that closed
                 approximately twenty years ago; and
         (iv)    M&K previously represented Wheaton College, an unsecured creditor in these
                 cases, in a matter unrelated to these cases, approximately twenty years ago.

         7.       M&K does not represent, nor is it represented by, any other authorized

professional specifically in connection with this case or on a regular basis or in connection

with a substantial matter in another case.



2
       In reviewing its records and the relationships of its attorneys, M&K did not seek information as to whether any
M&K attorney or member of his/her immediate family: (a) indirectly owns, through a public mutual fund or similar
public investment, securities of any party in interest; or (b) has engaged in any ordinary course consumer transaction
with any party in interest. If such relationship does exist, I do not believe it would impact upon my or M&K’s
disinterestedness or otherwise give rise to a finding that I or M&K hold an interest adverse to the Debtor or any party
in interest.



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       8.      Insofar as I have been able to ascertain, M&K, its shareholders, associates and

I do not hold or represent any interest adverse to that of the Debtors’ bankruptcy estates.

       9.      I believe that both M&K and I are "disinterested persons" as that term is

defined in Section 101(14) of the Bankruptcy Code. Furthermore, insofar as I have been able

to ascertain, neither M&K, any shareholder or associate thereof, nor myself, is connected with

any Bankruptcy Judge in the District of Massachusetts, or the United States Trustee or any

person employed in the office of the United States Trustee, so as to render the retention of

M&K as counsel to the Trustee inappropriate under Fed. R. Bankr. P. 5002(b).

       10.     M&K and I have conducted, and will continue to conduct, research into any

relationships that M&K may have with the Debtors and their creditors, any accountants,

attorneys or other professionals of the foregoing, and any other parties interested in this case.

Although M&K has undertaken, and will continue to undertake, an investigation to identify

any contacts with the Debtors or parties in interest, it is possible that such contacts have not

been discovered. To the extent any such contacts are discovered, M&K will notify the Court

by filing and serving a supplemental affidavit.

       11.     Any compensation, fee or allowance which may be claimed by me or by M&K

will belong wholly to the law firm and will not be divided, shared or pooled, directly or

indirectly, with any other person or firm.

       12.     Neither I nor M&K have been paid a retainer in this matter.

       13.     I shall amend this statement immediately upon my learning that (A) any of the

within representations are incorrect or (B) there is any change of circumstances relating

thereto.




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       14.     During the period of M&K's retention as counsel to the Trustee, neither I nor

M&K will hold any interest adverse to the interest of the Debtors’ estates, and will not cease

to be a disinterested person, as defined in 11 U.S.C. § 101.

       15.     I have reviewed the provisions of MLBR 2016-1.

        I declare under penalty of perjury that, to the best of my knowledge, the foregoing is
true and correct.


                                               /s/ Harold B. Murphy
                                               Harold B. Murphy

DATED: July 13, 2020




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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION


In re:                                         ~     )
                                                             Chapter 7
LEGACY GLOBAL SPORTS,L.P.                            )       Case No. 20-111.57-JEB

                       Debtor.                       )
                                                     1

                    DECLARATION REGARDING ELECTRONIC FILING

         I, Harold B. Murphy, hereby declare under penalty of perjury that all ofthe information
 contained in the Affidavit ofHarold B. Murphy in Support ofApplication by Chapter 7 Trusteefor
 Order Authorizing Retention ofCounsel,filed electronically is true and correct. I understand that
 this DECLARATION is to be filed with the Clerk of Court electronically concurrently with the
 electronic filing ofthe Affidavit. I understand that failure to file this DECLARATION may cause
 the Affidavit to be struck and any request contained or relying thereon to be denied, without further
 notice.

        I further understand that pursuant to the Massachusetts Electronic Filing Local Rule
(MEFLR)-7(a)all paper documents containing original signatures executed under the penalties of
 perjury and filed electronically with the Court are the property ofthe bankruptcy estate and shall be
 maintained by the authorized CM/ECF Registered User for a period offive(5) years after the
 closing ofthis case.


                                              Signed:
                                                     Harold B. Murphy(BBO #326610)
                                                     MURPHY &KING
                                                     Professional Corporation
                                                     One Beacon Street
                                                     Boston, MA 02108
                                                     Tel:(617)423-0400
                                                     Email: hmurph~na,inulphvkin~ com

 DATED: July 13,2020
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

                                                       )
In re:                                                 )
                                                       )     Chapter 7
LEGACY GLOBAL SPORTS, L.P.,                            )     Case No. 20-11157-JEB; and
                                                       )     20-11351 through 20-11376
                        Debtor.                        )     Request for Joint Administration
                                                       )     Pending

                                    CERTIFICATE OF SERVICE

         I, Harold B. Murphy, hereby certify that on July 13, 2020, I caused a copy of the (1)

Application of Chapter 7 Trustee for Order Authorizing Retention of Counsel; (2) Affidavit of

Harold B. Murphy in Support of Application by Chapter 7 Trustee for Order Authorizing Retention

of Counsel; and (3) Declaration of Electronic Filing to be served via this Court's CM/ECF system

and/or by first class mail, postage prepaid, on the parties listed on the attached service list.

                                               HAROLD B. MURPHY,
                                               CHAPTER 7 TRUSTEE

                                               By his proposed counsel,

                                               /s/ Harold B. Murphy
                                               Harold B. Murphy (BBO #326610)
                                               Kathleen R. Cruickshank (BBO #550675)
                                               MURPHY & KING
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                                               One Beacon Street
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DATED: July 13, 2020
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LEGACY GLOBAL SPORTS, L.P.
Case No. 20-11157-JEB
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   •   Jonathan Horne jhorne@murthalaw.com, lmulvehill@murthalaw.com
   •   Harold B. Murphy mxc@hanify.com,
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